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 2                         UNITED STATES DISTRICT COURT
 3                               DISTRICT OF NEVADA
 4
      EXCEDIS CORPORATION,                      Case No. 3:16-cv-00514-HDM-WGC
 5
                               Plaintiff,                   ORDER
 6          v.
 7    EDWARD BOLLMAN, and JAMES KERR,
 8                         Defendants.
      _______________________________
 9
      EDWARD BOLLMAN, and JAMES KERR,
10
                        Counterclaimants,
11
            v.
12
      EXCEDIS CORPORATION,
13
                     Counterdefendant.
14    _______________________________
15    EDWARD BOLLMAN, and JAMES KERR,
16                Third Party Plaintiffs,
17           v.
18    THOMAS RIPLEY, PATRICK HOGAN,
      JEAN HOGAN, and CATHERINE MEAD,
19
                  Third Party Defendants.
20

21          On September 4, 2020, the court entered an order providing
22    that the request of counsel for third party plaintiffs Edward
23    Bollman and James Kerr to withdraw would be granted unless, on or
24    before October 5, 2020, either Bollman or Kerr filed an objection.
25    Neither Bollman nor Kerr has filed any objection to counsel’s
26    withdrawal, and the time for doing so has expired. Accordingly,
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 1    good cause appearing, IT IS THEREFORE ORDERED that the request to

 2    withdraw filed by counsel for Bollman and Kerr is hereby GRANTED.

 3          IT IS FURTHER ORDERED that the Clerk of Court shall update

 4    the docket to reflect that Bollman and Kerr are now proceeding pro

 5    se and to include their contact information as follows:

 6          Mr. Edward Bollman
            4601 River Close Blvd.
 7          Valrico, FL 33596
            Email: Ed_Bollman@yahoo.com
 8          Phone: 813-767-3201
 9          Mr. James Kerr
            109 Manor Drive
10          Lansdale, PA 19446
            Email: kerrsinpa@me.com
11          Phone: 610-812-8379
12          IT IS FURTHER ORDERED that all notices in this action shall

13    be sent to Bollman and Kerr at their last known addresses.

14          IT IS FURTHER ORDERED that Bollman and Kerr shall have until

15    November 16, 2020, to either obtain substitute counsel and provide

16    notice thereof to the court, or to file a case status report

17    indicating whether they intend to proceed further with this action.

18          IT IS SO ORDERED.

19          DATED: This 16th day of October, 2020.
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21                                      ____________________________
                                        UNITED STATES DISTRICT JUDGE
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